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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                **AMENDED** CIVIL MINUTES - GENERAL
 Case No.          CV 15-8162-GW(FFMx)                                           Date      October 25, 2018
 Title             Thomas J. Kennis v. Metropolitan West Asset Management, LLC




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Robert W. Mockler                                         Amy D. Roy
                    Andrew W. Robertson                                     Robert A. Skinner
                      Robin Zwerling                                        Andrew J. Strabone
                                                                           John D. Donovan, Jr.
 PROCEEDINGS:                 DEFENDANT’S PHASE II MOTION FOR SUMMARY JUDGMENT
                              [263];

                              DEFENDANT'S MOTION IN LIMINE TO PARTIALLY EXCLUDE
                              EXPERT REPORT AND TESTIMONY OF IAN AYRES [256, 264];

                              DEFENDANT'S MOTION IN LIMINE TO EXCLUDE EXPERT
                              REPORT AND TESTIMONY OF WILLIAM A. BIRDTHISTLE [257,
                              265]


Court hears oral argument. The Court’s Redacted Tentative attached hereto, is adopted as the Court’s
Final Ruling. The Court would deny the Expert Motions in Limine and DENY IN PART the Motion for
Summary Judgment.

Court and counsel discuss scheduling. The Court sets the following:

         Pretrial Conference                November 29, 2018 at 8:30 a.m.
         Bench Trial                        December 11, 2018 at 9:00 a.m.

The post mediation status conference set for November 5, 2018 is TAKEN OFF-CALENDAR.




                                                                                                   :     25
                                                               Initials of Preparer   JG
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    Kennisv.MetropolitanWestAssetManagement.LLC;CaseNo.2:15-cv-08162-GW-(FFMx)
    Tentative Rulings on: (1) Defendant's Renewed Motion for Summary Judgment, (2) Defendant's
    Motion In Limine to Partially Exclude Expert Report and Testimony of Ian Ayres, and (3)
    Defendant's Motion In Limine to Exclude Expert Report and Testimony of William A
    Birdthistle



    I. Background
           A. Factual Allegations
           Thomas Kennis ("Plaintiff') sues Metropolitan West Asset Management, LLC
    ("Defendant" or "MetWest") for violation of Section 36(b) of the Investment Company Act of .
    1940 (the "ICA"), 15 U.S.C. § 80a-35(b). See Compl.           ,r,r 92-98, Docket No.    I. As background,
    the Complaint alleges the following:
           Plaintiff brings this action on behalf of the Metropolitan West Total Return Bond Fund
    (the "Fund"). Id     ,r I.     Plaintiff has continuously owned shares in the Fund since at least
    February 2012.   Id ,r 15.     The Fund is an open-end management investment company, referred to
    as a "mutual fund," and is registered under the ICA. Id        ,r 18.    The Fund is organized as part of a
    series of nine mutual funds owned by Metropolitan West Funds ("Met West Funds"), a statutory
    trust formed under Delaware law. Id.      ,r,r 18-19.   The Fund issues shares to investors in exchange
    for money, which is pooled and invested in a portfolio of securities. Id             ,r,r 20-21.   . The Fund
    does not have officers, employees, or facilities of its own, but rather is operated by external
    service providers pursuant to contracts with the Fund. Id.      ,r 22.
           The Fund is overseen by a Board of Trustees (the "Board") consisting of nine members
    ("Independent Trustees"). Id    ,r 25. The Board also oversees eight other mutual funds managed
    by Defendant or its affiliates. Id ,r 26. The Board is responsible for selecting and monitoring
    t~e Fund's service providers, including the Fund's investment adviser. Id ,r 27. The Board is
    not a party to this lawsuit.
           Defendant MetWest serves as the Fund's investment adviser pursuant to an Investment
    Management Agreement (the "ll\t~A") between Defendant and Met West Funds. Id.                      ,r,r 23, 28.
    The IMA requires Defendant to provide investment advisory services to the Fund, including: "(a)
     supervising and managing the Fund's portfolio of investments; (b) providing advice and
    recommendations with respect to the investment of the Fund's assets; (c) placing orders for the
    purchase or sale of securities on behalf of the Fund; (d) reporting to the Board; and (e)
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    overseeing the administration of the Fund's business and affairs." Id                  ,r 29.
             In exchange for its services, the IMA requires the Fund to pay Defendant an annual fee
    that is calculated as a percentage of the Fund's assets under management ("AUM"). Id                            ,r 37.
    During the relevant time, Defendant's investment advisory fee rate has been 35 basis points, or
    0.35% of the Fund's AUM.                Id   ,r   38. During fiscal year 2015, the Fund paid Defendant
    approximately $140.3 million in investment advisory fees. Id                ,r 39.     Pursuant to Section 36(b) of
    the ICA, "the investment adviser of a registered investment company shall be deemed to have a
    fiduciary duty with respect to the receipt of compensation for services ...." 15 U.S.C. § 80a-
    35(b).
             Defendant also provides investment advisory services to several other mutual funds that
    were organized and are sponsored by independent financial institutions (the "Sub-Advised
    Funds"). Id      ,r,r 40-42.    The sponsoring financial institution serves as the primary investment
    adviser to each Sub-Advised Fund, but subcontracts with Defendant to provide investment
    advisory services. Id       ,r,r 46-47.   The investment management agreement for at least one of the
    Sub-Advised Funds states that Defendant provides services that include: "(a) managing the
    investment operations and the composition of the assets of the Sub-Advised Fund; (b)
    determining what investment and securities will be purchased, retained, or sold by the Sub-
    Advised Fund; (c) placing orders for the purchase and sale of securities on behalf of the Sub-
    Advised Fund; and (d) rendering to the board of directors such periodic and special reports as the
    board may request." Id         ,r 51.
             Plaintiff alleges that Defendant has breached its fiduciary duty to the Fund in violation of
    Section 36(b) because it receives investment advisory .fees that are "so disproportionately large
    that they bear no reasonable relationship to the value of the services provided by Defendant and
     could not have been the product of arms-length bargaining." Id                ,r 4.   Defendant filed a motion to
     dismiss the claim on December 12, 2015, and after extensive briefing the Court denied
    Defendant's motion on June 16, 2016. 1 See Civil Minutes June 16, 2016, Docket No. 58.
    Defendant later filed a motion for summary judgment on a Phase I issue, arguing that the
     services Defendant provides to the Fund in exchange for the advisory fee are not substantially


     1 In denying the motion, this Court primarily held that: "whether or not the services provided by [Defendant] to the

     Fund and the Sub-Advised Funds are substantially the same, and whether or not a comparison to other mutual fees'
     advisory fees is more appropriate, are both fact-intensive inquiries that cannot be resolved at this stage in the
     litigation." See Docket No. 58 at 4.
                                                               2
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    similar to the services provided to the Sub-Advised Funds in exchange for the subadvisory fee.
    See generally Motion for Summary Judgment ("MSJ I"), Docket No. 112. The Court ultimately
    denied the MSJ I. See MSJ Rulings, Docket Nos. 134, 155, 159.
           B. Procedural History
           Defendant has recently filed two motions in limine, now pending before the Court. The
    first is to partially exclude the expert report of Plaintiffs' expert Professor Ian Ayres ("Ayres").
    See Defendant's Notice of Motion and Motion In Limine to Partially Exclude Expert Report and
    Testimony of Ian Ayres ("Ayres MIL"), Docket No. 256. The second motion in limine is to
    exclude the expert report and testimony of Professor William A. Birdthistle ("Birdthistle"). See
    Defendant's Notice of Motion and Motion In Limine to Exclude Expert Report and Testimony of
    William A. Birdthistle ("Birdthistle MIL" and collectively with the Ayres MIL, "Expert MILs"),
    Docket No. 257. Plaintiff opposed both the Expert MILs in a single brief. See [Unredacted]
    Plain.tiff's Opposition to Defendant's Motions In Limine ("Expert MILs Opp'n"), Docket No.
    287. Plaintiff then submitted separate oppositions to each of the Expert MILs. See [Unredacted]
    Plaintiff's Opposition to Defendant's Motion In Limine to Exclude Expert Report and Testimony
    of William A. Birdthistle, Docket No. 293-1 ("Birdthistle MIL Opp'n"); [Unredacted] Plaintiff's
    Opposition to Defendant's Motion In Limine to Partially Exclude Expert Report and Testimony
    of Ian Ayres ("Ayres MIL Opp'n"), Docket No. 293-2. Defendant filed replies in support of the
    Expert MILs. See [Unre.dacted] Defendant's Reply in Support of Motion In Limine to Partially
    Exclude Expert Report and Testimony of Ian Ayres ("Ayres MIL Reply"), Docket No. 312-1;
    see also [Unredacted] Defendant's Reply in Support of Motion In Limine to Exclude Expert
    Report and Testimony of William A. Birdthistle ("Birdthistle MIL Reply"), Docket No. 312-2.
           Also pending before the Court is Defendant's second motion summary judgment. See
     [Unredacted] Defendant's Notice of Motion and Phase II Motion for Summary Judgment ("MSJ
    II"), Docket No. 259-2. Plaintiff filed an opposition. See [Unredacted] Plaintiff's Opposition to
    Defendant's Phase II Motion for Summary Judgment ("MSJ II Opp'n"), Docket No. 296.
    Defendant filed a reply. See [Unredacted] Defendant Metropolitan West Asset Management's
    Reply Memorandum in Support of Phase II Motion for Summary Judgment ("MSJ II Reply"),
    Docket No. 298-2.       Each party has submitted "uncontroverted" facts they believe to be
    undisputed, with the other party providing responses when applicable.                See generally
     [UnredactedJ Defendant's Response to Plaintiff's Statement of Genuine Disputes and Plaintiff's


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    Statement of Additional Facts, Docket No. 308-1. 2
    II. Expert MILs
              Defendant moves to exclude Section V of the Ayres Report, including testimony
    regarding topics discussed therein. See Ayres MIL at 1; [Unredacted] Declaration of Robert A.
    Skinner Ex. 2 ("Ayres Report"), Docket No. 259-20. Separately, Defendant moves to exclude
    the Birdthistle Report and testimony related to the topics discussed therein.                      See generally
    Birdthistle MIL; [Unredacted] Skinner Deel. Ex. 1 ("Birdthistle Report"), Docket No. 259-19. In
    response to the Expert MILs, Plaintiff argues that the Court need not exclude the opinions on the
    basis of Daubert at this juncture because in this case there will be a bench trial, rather than a jury
    trial. See Ayres MIL Opp'n at 3-4; Birdthistle MIL Opp'n at 3-4.
              Federal Rule of Evidence 702 controls the Court's determination on whether to exclude
    the parties' proposed expert witnesses:
                     A witness who is qualified as an expert by knowledge, skill,
                     experience, training, or education may testify in the form of an
                     opinion or otherwise if:
                     (a) the expert's scientific, technical, or other specialized
                     knowledge will help the trier of fact to understand the evidence or
                     to determine a fact in issue;
                     (b) the testimony is based on sufficient facts or data;
                     (c) the testimony is the product of reliable principles and methods;
                         and
                     (d) the expert has reliably applied the principles and methods to the
                     facts of the case.

    Fed. R. Evid. 702; see generally Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 583
    (1993).
              "Daubert's general holding - setting forth the trial judge's general 'gatekeeping'
    obligation-applies not only to testimony based on 'scientific' knowledge, but also to testimony
    based on 'technical' and 'other specialized' knowledge." Kumho Tire Co. v. Carmichael, 526
    U.S. 137, 141 (1999). This "gatekeeping obligation" requires."that all admitted expert testimony
    is both relevant and reliable." Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1232 (9th Cir.
    2017). Expert testimony must be relevant and reliable, and it must "relate to scientific, technical,
    or other specialized knowledge, which does not include unsupported speculation and subjective

    2The Court will refer to the uncontroverted facts that Defendant proffers as "DUF," with those facts located at
    Docket No. 308-1 from CM/ECF pages 3 to 161. The Court will refer to the uncontroverted facts that Plaintiff
    proffers as "PUF," with those facts located at the same docket but from CM/ECF pages 162 to 267.

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    beliefs." Guidroz-Brault v. Missouri Pac. R.R. Co., 254 F.3d 825, 829 (9th Cir. 2001). "The test
    for reliability, however, is not the correctness of the expert's conclusions but the soundness of
    his methodology." Stilwell v. Smith & Nephew, Inc., 4.82 F.3d 1187, 1192 (9th Cir. 2007).
            That being said, "far from requiring trial judges to mechanically apply the Daubert
    factors - or something like them - to both scientific and non-scientific testimony, Kumho Tire
    heavily emphasizes that judges are entitled to broad discretion when discharging their
    gatekeeping function." Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d 998, 1017
    (9th Cir. 2004). Exclusion of expert testimony is proper only when such testimony is irrelevant
    or unreliable because "[v]igorous cross-examination, presentation of contrary evidence, and
    careful instruction on the burden of proof are the traditional and appropriate means of attacking
    shaky but admissible evidence." Daubert, 509 U.S. at 596 (citing Rock v. Arkansas, 483 U.S.
    44, 61 (1987)).
            The Ninth Circuit has clarified a district court's gatekeeper function in the context of
    bench trials, holding that "Daubert is meant to protect juries :from being swayed by dubious
    scientific testimony." United States v. Flores, 901 F.3d 1150, 1165 (9th Cir. 2018) (internal
    quotation marks and citation omitted). Indeed, "[w]hen the district court sits as the finder of fact,
    there is less need for the gatekeeper to keep the gate when the gatekeeper is keeping the gate
    only for himself." See id.; see also FTC v. BurnLounge, Inc., 753.F.3d 878, 888 (9th Cir. 2014)
    ("When we consider the admissibility of expert testimony, we are mindful that there is less
    danger that a trial court will be unduly impressed by the expert's testimony or opinion in a bench
    trial."). Because the gatekeeper and factfinder are the same entity in a bench trial, courts do "not ·
    err in admitting the evidence subject to the ability later to exclude it or disregard it if it turns out
    not to meet the standard of reliability established by Rule 702." See Flores, 901 F Jd at 1165.
    Taking heed of Ninth Circuit precedent, because this case will proceed with a bench trial, the
    Court would admit the challenged expert testimony subject to the ability later to exclude it or
    disregard it if it turns out Ayres or Birtdthistle opine beyond their qualifications or in an
    unreliable fashion. 3 Chill v. Calamos Advisors LLC, No. 15 CIV. 1014 (ER), 2018 WL 4778912,
    at *7 (S.D.N.Y. Oct. 3, 2018) (denying motions to exclude expert testimony in a similar Section

    3 The Court notes that in reaching the below denial of the MSJ II it did not have to rely on Section V of the Ayres

    Report or any opinion in the Birdthistle Report. Though the Court does rely on other parts of the Ayres Report
    below (i.e. on economies of scale and Section IV which opines that MetWest charges advisory fees to the Fund
    greater than subadvisory fees charged to the Sub-Advised Funds), Section Vis not relied on in any of the Court's
    analysis.

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    36(b) case pnor to deciding motion for summary judgment, holding that "[i]f, after live
    testimony, the Court concludes that any of the experts lack the proper qualifications or offer
    unreliable opinions, the Court will give those opinions little or no weight in its decision."). As
    such, the <;:ourt would deny the Expert MILs.
    HI. MSJII
           A. Legal Standard
           Summary judgment is proper when the pleadings, the discovery and disclosed materials
    on file, including any affidavits/declarations, show that "there is no genuine issue as to any
    material fact and that the movant is entitled to judgment as a matter oflaw." Fed. R. Civ. P. 56;
    see also Miranda v. City of Cornelius, 429 F.3d 858, 860 n.1 (9th Cir. 2005). To satisfy its
    burden at summary judgment, a moving party with the burden of persuasion must establish
    "beyond controversy every essential element of its [claim or defense]." S. Cal. Gas Co. v. City
    ofSanta Ana, 336 F.3d 885, 888 (9th Cir. 2003); O'Connell & Stevenson, Cal. Prac. Guide Fed.
    Civ. Proc. Before Trial (The Rutter Group 2017) § 14:126 at 14-46. By contrast, a moving party
    without the burden of persuasion "must either produce evidence negating an essential element of
    the nonmoving party's claim or defense or show that the nonmoving party does not have enough
    evidence of an essential element to carry its ultimate burden of persuasion at trial." Nissan Fire
    & Marine Ins. Co., Ltd v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000).
                   If the party moving for summary judgment meets its initial burden
                   of identifying for the court the portions of the materials on file that
                   it believes demonstrate the absence of any genuine issue of
                   material fact, the nonmoving party may not rely on the mere
                   allegations in the pleadings in order to preclude summary
                   judgment[, but instead] must set forth, by affidavit or as otherwise
                   provided in Rule 56, specific facts showing that there is a genuine
                   issue for trial.
    T. W. Elec. Serv., Inc., v. Pac. Elec. Contractors Ass 'n, 809 F .2d 626, 630 (9th Cir. 1987)
    (internal citations and quotation marks omitted, emphasis in original) (citing, among other cases,
    Celotex Corp. v. Catrett, 477 U.S. 317 (1986)). "A non-movant's bald assertions or a mere
    scintilla of evidence in his favor are both insufficient to withstand summary judgment." FTC v.
    Stefanchik, 559 F.3d 924, 929 (9th Cir. 2009). In addition, the evidence presented by the parties
    must be admissible. See Fed. R. Civ. P. 56(e); see also Pelletier v. Fed. Home Loan Bank of
    S.F., 968 F.2d 865, 872 (9th Cir. 1992) (to survive summary judgment, the non-movant party
    "ordinarily must furnish affidavits containing admissible evidence tending to show the existence
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    of a genuine dispute of material fact"). Conclusory, speculative testimony in affidavits and
    moving papers is insufficient to raise genuine issues of fact and defeat summary judgment. See
    Thornhill Publ'g Co., Inc. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979). With that said,
    courts do not make credibility detenninations or weigh conflicting evidence .at the summary
    judgment stage, and must view all evidence and draw all inferences in the light most favorable to
    the non-moving party. See TW Elec., 809 F.2d at 630-31 (citing Matsushita Elec. Indus. Co.,
    Ltd v. Zenith Radio. Corp., 475 U.S. 574 (1986)); see also Motley v. Parks, 432 F.3d 1072, 1075,
    n.l (9th Cir: 2005) (en bane).
               B. Relevant Undisputed Facts4
               MetWest serves as the investment adviser to the Fund, pursuant to an IMA, which
    Independent Trustees of the Fund's Board approve annually. 5 See DUF ,i 1; Declaration of Laird
    Landmann ("Landmann Deel.") Ex. 1 (copy oflMA), Docket No. 255-3.
                         1. The Fund's Fees
               The Fund pays MetWest an annual contractual investment advisory fee of 0.35% (35
    basis points) of the Fund's assets under management ("AUM") in exchange for services
    · performed pursuant to the IMA. See DUF                    ,r 2.   The Fund has four share classes that have
    different minimum investment requirements. See id.                     ,r 7.   Each share class is apportioned the
    same 35 basis point advisory fees. 6 See id ,i 8.                       In 2014, the Fund paid approximately
    -                  in advisory fees to MetWest, increasing each year to an eventual                                   in
    2018. See PUF            1 92.    MetWest and the Fund entered into a Supplemental Administration
    Agreement on July 29, 2015, entitling MetWest to receive up to $650,000 per year to perform
    certain administrative services for all nine MetWest Funds, including the Fund. See id ,i,r 158-
    60; Landmann Deel. Ex. 16 (Suppleme~tal Administration Agreement), Docket No. 255-18. In

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      Some of the underlying "undisputed" facts cited herein have been disputed by Plaintiff or Defendant. The Court
    has reviewed such disputes and has included in this summary only facts that are supported by the cited evidence,
    altering the proffered facts if necessary to accurately reflect the uncontroverted evidence. To the extent that the
    cited underlying "undisputed" facts have been disputed, the Court finds that the stated disputes: (l) fail to controvert
    the proffered "undisputed" facts, (2) dispute the facts on grounds not germane to the below statements, and/or (3)
    fail to cite evidence in support of the disputing party's position. As such, the Court treats such facts as undisputed.
    Any proffered facts not included in this tentative ruling were found to be: (1) improper opinions or conclusions
    rather than facts, (2) were unsupported by admissible evidence, (3) were deemed irrelevant to the Court's present
    analysis, or (4) some combination thereof.
    5
        The Court uses the abbreviations that were delineated in Section I.A of this tentat_ive ruling.
    6 The sum of all charges allocated to a given share class, consisting of the advisory fee plus other applicable charges,
    is known as the total expense ratio. See DUF 18.

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    addition, the Fund pays for other operational expenses, including commitment fees, insurance.
    expenses, trustee fees and expenses, registration and filing fees, reports to shareholders, and
    professional, legal, and accounting fees. See PUF               ,r    155. Those operating expenses varied
    b e t w e e n - and                             in 2014 to 2018, exclusive of the advisory fees. See id.
    ,r 156.   The Fund pays separate administration fees, transfer agency fees, custody fees, and Rule .
    12b-1 fees to service providers other than MetWest. See id.               ,r,r 132-56.
              Third-party consultant Broadridge Financial Solutions, Inc. ("Broadridge"), formerly
    known as Lipper, Inc.,' evaluates fees paid by mutual funds. See DUF ,r,r 11-17. For peer groups
    of "core bonds" or "core plus bonds" consisting of bond funds that use a certain investment
    strategy, the Fund's fees have generally been below or at the median as to advisory fees and total
    expense ratios. See id.      ,r,r   14, 18-19. At least one exception is that with respect to one share
    class, the advisory fee was above the median by .003%, which is three tenths of one basis point.
    See id    ,r 23.
                       2. The Fund's Performance
              Based on the Broadridge data·that the Board receives, between 2014 and 2017 for certain
    share classes the Fund generally performed in the top quintile or decile of its peer group in terms
    of long-term ''net-of-fee" returns." See DUF             ,r,r 29-32.          Defendant's expert Professor John
    . Coates ("Coates") confirmed similar results. See id.          ,r 33. In addition, Professor Coates stated
    that using "Sharpe ratios," a metric measuring risk-adjusted performance, the Fund's three, five,
    and ten year performance has fared in the top quintile of core bonds fund since February 2010.
    See id    ,r 34.   Professor Coates also stated that the Fund's ten-year Sharpe ratios have generally
    been the highest of any core bond funds since June 2012. See id.
                       3. The Board's Review
              Pursuant to the ICA, each year the Board decides whether to approve for an additional
    year the IMA and the fees charged under it. This process, known as the "15(c) process,"
    culminates with an in-person meeting. See DUF               ,r 36.     As part of the 15(c) process, the Board
    sends a questionnaire to MetWest through the Board's independent counsel Dechert LLP,
    seeking information prior to the annual renewal.meeting. See id                   ,r 37.   MetWest responds with a
    memorandum and exhibits. See id              ,r 38.   Broadridge provides reports, fee comparisons, and
    performance comparisons related to the Fund. See id.                 ,r 11.   More than a majority of the Board
    consists of independent trustees meeting the ICA's definition of "disinterestedness," and the


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 Board approved the 35 basis point advisory fee challenged in this litigation with a majority vote.
 See id    ,r,r 46-47.   The Board meets quarterly and communicates with MetWest throughout the
 year, with MetWest sending various materials, providing updates, and answering the Board's
 questions. See id ,r,r 44-45.
 llllllll<see PUF ,r 215);




                    4. Comparing the Fund and Sub-Advised Funds
           Part of this case is the comparison between the advisory fee Defendant charges the Fund
 and the subadvisory fee it charges for investment advisory services to externally sponsored
 mutual funds ("Sub-Advised Funds"), for which :rv,t:etWest is a subadviser. See Complaint                 ,r 5.
 MetWest provides services to the Sub-Advised Funds in exchange for a fee negotiated with the
 sponsoring advisor for each Sub-Advis~d Fund. See PUF fl 85-90. Each Sub-Advised Fund has
 its own sponsoring adviser (which is not MetWest)' overseeing performance and providing
 advisory and administrative services in exchange for an advisory fee, and the sponsoring advisor
 pays a portion to MetWest as a subadvisory fee. See D UF 1 51. The Fund and the Sub-Advised
 Funds have similar investment objectives, processes, and strategies, and they have the same
 portfolio managers. See PUF ,r,r 99-100. MetWest utilizes at least some of the same systems and
 models in managing the portfolios of the Fund and Sub-Advised Funds, and the personnel
 providing services to the Fund and Sub-Advised Funds overlap to some degree. See id                    11 101-
 102. Assuming that Plaintiff's definition of Sub-Advised Funds is correct,7 the Fund would have
 paid betwee. basis points and lllllbasis points in advisory fees to MetWest if the Fund instead
 paid the rate that MetWest charged Sub-Advised Funds in subadvisory fees. See id. 95. Using
 those metrics, the Fund would have paid between                                        and              ess m
 advisory fees between 2014 and 2018. See PUF ,r,r 96-97.

 7 The   Court notes that Plaintiff's definition and categorization of Sub-Advised Funds is disputed.

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        C. Discussion
                1. Legal Authority for Section 36(b) Liability
        Section 36(b) of the ICA "impose[s] upon investment advisers a 'fiduciary duty' with
 respect to compensation received from a mutual fund, and grant[s] individual investors a private
 right of action for breach of that duty." Jones v. Harris Assocs. L.P., 559 U.S. 335, 340, 345-46
 (2010) (citing 15 U.S.C. § 80a-35(b)). "[T]o face liability under§ 36(b), an investment adviser
 must charge a fee that is so disproportionately large that it bears no reasonable relationship to the
 services rendered and could not have been the product of arm's length bargaining." Turner ex
 rel. Davis New York Venture Fund v. Davis Selected Advisers, LP, 626 F.App'x 713, 716 (9th
 Cir. 2015) (internal quotation marks omitted) (citing Jones, 559 U.S. 33~, 346 (2010)).
        To determine whether the fee charged is disproportionately large in light of the services
 rendered, courts consider all relevant factors "including the factual inquiries known as the
.'Gartenberg factors."' See Kenny v. Pacific Inv. Mgmt. Co., LLC, No. 14-1987-RSM, 2015 WL
 10635505, at *3 (W.D. Wash. August 28, 2015) (citing Jones, 599 U.S. at 344; Gartenberg v.
 Merrill Lynch Asset Mgmt., Inc., 694 F.2d 923, 929 (2d Cir. 1982)); see also Turner, 626
 F.App'x at 716. The Gartenberg factors are non-exclusive and non-disjunctive, meaning there is
 no requirement that a Plaintiff present evidence that relates to all six in order to prove a violation,
 but rather a court must consider "all facts in connection with the determination and receipt of
 such compensation," including: (1) the nature and quality of services rendered; (2) the
 profitability of the fund to the investment adviser; (3) fall-out benefits; (4) economies of scale;
 (5) comparative fee structures; and (6) the independence of the unaffiliated directors and the care
 and conscientiousness with which they performed their duties. Kenny, 2015 WL 10635505, at
 *3 (citing Jones, 599 U.S. at 344 & n.5); see also In re Am. Mut. Funds Fee Litig., No. CV 04-
 5593 GAF, 2009 WL 5215755, at *44 (C.D. Cal. Dec. 28, 2009), aff'd sub nom., Jelinek v.
 Capital Research & Mgmt. Co., 448 F. App'x 716 (9th Cir. 2011). Additionally, "Section 36(b)
 does not require plaintiffs to establish that the fees charged by a defendant [are] excessive in the
 aggregate .. plaintiffs may challenge a particular fee and may prevail on their Section 36(b)
 claim if they show that such a fee was disproportionate to the services rendered in exchange for
 that fee." Id; see also Meyer v. Oppenheimer Mgmt. Corp., 895 F.2d 861, 866 (2d Cir. 1990)
 ("The two kinds of payments are for entirely different services, namely advice on the one hand
 and sales and distribution on the other. If the fee for each service viewed separately is not


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 excessive in relation to the service rendered, then the sum of the two is also permissible.").
                  2. Revisiting MSJ I
         To some extent Defendant indirectly asks the Court to revisit its MSJ I Ruling, 8 though it
 claims not to make any such request. See MSJ II at 13-15, 18-23. Defendant argues that the
 services MetWest provides to the Fund and Sub-Advised Funds are not substantially the same,
 such that a comparison in fees charged is inapt. See id                   Defendant does not provide any
 additional material evidence that would ultimately change the Court's prior conclusion in the
 MSJ I Ruling. See id Instead, it predominantly regurgitates evidence previously presented to
 the Court and cites to the recent Southern District of Ohio case, Goodman v. JP. Morgan
 Investment Management, Inc., 301 F. Supp. 3d 759 (S.D. Ohio 2018), appeal docketed, Nos. 18-
 3238, 18-3239 (6th Cir. Mar. 14, 2018). In Goodman, the court granted summary judgment in
 favor of the defendant, making multiple findings. See generally id The court found that the
 performance of the funds at issue was within the range of peer funds, that the board's approval
 process was thorough, and that the services the defendant provided to the funds at issue and the
 Sub-Advised funds were not substantially similar such that comparing fees charged for those
 services could not create a genuine issue of material fact. See id at 774, 781-82.
         Nonetheless, the Court would agree with Plaintiff that the Goodman court may have
 overstepped its role in summary judgment and weighed evidence as if at trial. What the Court
 knows for certain is that in the case at bar, the Court does not find that Defendant presented
 evidence that would change the ruling in the MSJ I. Thus, the Court would reincorporate and
 adopt that reasoning herein, and again hold that:
         Ultimately, the Court agrees with Plaintiff that factual disputes remain as to the
         nature of the services provided to the Fund in exchange for the Advisory Fee
         enshrined in the IMA. The Court also remains unconvinced that the differences
         presented necessarily render the comparison wholly inapt . . . . In other words·,
         when viewed in the light most favorable to Plaintiff, the evidence could support a
         finding that the services Defendant provides to the Fund in exchange for the
         Advisory Fee, are similar enough to the portfolio management services that
         Defendant concedes it provides to the Sub-Advised Funds that the comparison
         would have some probative value.

 See MSJ Ruling at 15-16. The Court extends its prior MSJ I Ruling to the extent that the


 8 See Sep. 11, 2017 Civil Minutes ("MSJ Ruling"), Docket No. 155. The Court will refer to the September 11, 2017

 tentative ruling as the "MSJ I Ruling" because it contains the most detailed musings of the Court on the MSJ I and
 was made final vis-a-vis Docket No. 159.

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 advisory and subadvisory fee comparison is not just probative, but could also be sufficiently
 persuasive to indicate excessiveness depending on the evidence presented at trial.9 At the very
 least, the evidence proffered and discussed more thoroughly in the MSJ I Ruling creates a triable
 issue of fact on this front. See MSJ I Ruling at 9-16. Even without the additional testimony of
 Section V of the Ayres Report,. which Defendant asserts is unreliable


                                                              the evidence addressed in the MSJ I Ruling is
 sufficient to proceed with this comparison. See MSJ II Opp'n at 21-22. In addition, the different
 risks that Defendant argues it takes on with regard to servicing the Fund is not enough to warrant
 summary judgment. 10
                   3. The Board's Approval Process
         Defendant asserts that the Board unanimously voted on the challenged fees each year,
 pursuant to the ICA. See MSJ II at 17-18. At all times, according to Defend.ant, the Board
 consisted of a m~jority disinterested Board, with the.Board requesting and receiving extensive
 information regarding MetWest's fees and services in relation to the Fund. See id Defendant
 asserts that the annual 15(c) process was informed, thorough, and robust, and that Plaintiff
 quibbles in hindsight about what should have been done. See id at 27-29; see also MSJ II Reply
 at 7.
         In response, Plaintiff argues that the Court should not capitulate to the Board's decision


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  Though the Court indicated to Defendant that it could move for summary judgment following the close of
 discovery and "include arguments as to the level of probative value of the fee comparison contentions made by
 Plaintiff at that point as part of its analysis," Defendant's arguments as to the degree of probative value are ·
 predominantly extensions of its MSJ I argument that the fee comparison had no probative value. See Sep. 22, 2017
 Civil Minutes at 2, Docket No. 159. The Court did not find those arguments persuasive then and it does not find
 them persuasive now.

 10 The Jones ho1ding contemplates fee comparisons between captive, and non-captive funds. See Jones, 559 U.S. at
 336 ("[C]ourts must give comparisons between the fees an investment adviser charges a captive mutual fund and the
 fees it charges its independent clients the weight they merit in light of the similarities and differences between the
 services the clients in question require."). Presumably the Supreme Court did so with an awareness that legal and
 business risks may differ between a captive fund and independent fund. As a result, the fact Jones permits fee
 comparisons despite these inherent and obvious differences suggests Defendant's discussion of the risks of Fund
 management is of little relevance. See BlackRock, 2018 WL 3075916, at *26 (stating the same principle and noting
 that "the services rendered to different clients need not be identical to form an apt fee comparison."). Regardless of
 the relevance of these risks, the Court would agree with Plaintiff that sifting out such risks is not appropriate at this
 stage. See id at *26 (holding that "Defendants' argument that BRA's services and BRIM's subadvisory services are
 not comparable, because of the different entrepreneurial, reputational, legal, and regulatory risks assumed by BRA,
 is too fact intensive to be decided on summary judgment.").


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 because the deference afforded to such decisions varies by context as per Jones. See MSJ II
 Opp'n at 25. Plaintiff asserts that MetWest did not provide important information to the Board,




 -              See MSJ II Opp'n at 27-28 (citing PUF '11,r 187, 211-2.19). Additionally, Plaintiff
 takes issue with the Board "almost entirely" relying on fee expense comparisons to captive
 mutual funds. See id. at 28 (citing DUF ,r,r 10-27).
        At the outset, the Court must "calibrat[e] the degree of deference" it should lend to the
                                      .                                       .

 Board's decision to approve MetWest's advisory fee. Jones, 559 U.S. at 351-52; see Gallus v.
 Ameriprise Fin., Inc., 675 F.3d 1173, 1178 (8th Cir. 2012) ("Although § 36(b) is 'sharply
 focused' on whether the fees are excessive, we evaluate the fee-negotiation process to determine
 the degree of deference that is due a board's decision to approve the adviser's fees."). The
 Board's decision to approve MetWest's advisory fee is entitled to considerable weight, "[u]nless
 the Board's approval process was deficient or [MetWest] withheld material information from the
 Board." BlackRock, 2018 WL 3075916, at *14 (citing Jones, 559 U.S. at 351).
        It is undisputed that pursuant to the ICA, each year the Board decides whether to approve
 for an additional year the IMA and the fees charged under it. This process, known as the "15(c)
 process," culminates with an in-person meeting each year. See DUF         ,r 36.   As part of the 15(c)
 process, the Board sends a questionnaire to MetWest through the Board's independent counsel
 Dechert LLP, seeking information prior to the annual renewal meeting. See id           ,r 37.   MetWest
. responds with a memorandum and exhibits. See id          ,r 38.   Broadridge provides reports, fee
 comparisons, and performance comparisons related to the Fund as part of this process. See id.         ,r
 11. More than a majority of the Board consists of independent trustees meeting the ICA's
 definition of "disinterestedness," and the Board has approved the 35 basis point advisory fee
 challenged   iri this litigation each year at issue. See id. 11 46-47.   Separately from this annual
 meeting, the Board meets quarterly and communicates with MetWest throughout the year, with


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. MetWest sending various materials to the Board, providing updates, and answering the Board's
 questions. See id      ,i,r 44-45.   Also, the Board minutes from at least 2014 and 2015 indicate
 discussion of the Gartenberg factors. See generally Landmann Deel. Exs. 11-12 (copies of2014
 and 2015 Board minutes), Docket Nos. 255:13, 255-14.
         Though the Court considers the Board's aforementioned process fairly robust in some
 respects, it must also decide whether MetWest withheld material information or if the process
 bore other deficiencies, weakening the Board's status as an independent check. See Jones, 559
 U.S. at 351-52 ("where the board's process was deficient or the adviser withheld important
 information, the court must take a more rigorous look at the outcome) ( emphasis added). The
 Court would find unpersuasive Plaintiffs argument that MetWest misled the Board in asserting,
 in the context of non-advisory fees, that it


 Opp'n at 26-27 (citing PUF ,r,r 172-75). It is the advisory fee that is the subject of this litigation.
 As to the other deficiencies in the 15(c) process that Plaintiff proffers,




                         See generally Landmann Deel. Exs. 11-12 (copies of certain 2014 and 2015
 Board minutes), Docket Nos. 255-13, 255-14. Nonetheless, there exists a triable issue of fact as
 to the approval process because the Board did not receive and/or consider various materials. It is




 unrelated)
 PUF ,r 217). 11 At this stage, the Court would conclude that deference to the Board's decision is


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   There is also a question of whether the Board may have overly relied on the Broadridge data without taking other
 comparisons or information into account. See DUF ,i,i I 0-27.

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 unwarranted based on the evidence presented. See Chill, 2018 WL 4778912, at *9 (S.D.N.Y.
 Oct. 3, 2018) (holding that "[a]fter reviewing the procedure and substance of the Independent
 Trustees' 15(c) Process, and in light of the Gartenberg factors, the Court concludes that
 deficiencies surrounding the Trustees' evaluation of the Advisory Fees preclude the Court from
 affording the Trustees' judgment substantial deference as a matter of law - at least at this stage
 of the litigation.").
                  4. The Fund's Performance and At or Below Median Fee
         Defendant asserts it is undisputed that the Fund performed excellently and that the Fund's
 advisory fees compare favorably to the rates of similar mutual funds. See MSJ II at 16-17. To
 support this argument, Defendant relies on Broadridge materials as an objective data source,
 asserting that courts commonly rely on such data. See id. at 17. Plaintiff argues that the Fund
 and Sub-Advised Funds performed virtually the same yet the Sub-Advised Funds paid lower
 fees, and that the Fund's positive performance therefore cannot form the basis as a justification
 for the advisory fee. See MSJ II Opp'n at 16. Plaintiff argues that the positive returns of the
 Fund does not automatically preclude a finding that fees are excessive.        See id. at 16. In
 addition, Plaintiff takes issue with Defendant's reliance on Broadridge reports because the
 comparisons used in the Broadridge reports involve captive mutual funds, and because
 Broadridge reports do not include evidence of the services provided by the "comparable" funds,
 whether services provided to those funds are substantially similar to that provided by MetWest to
 the Fund, and whether the fees charged by the comparable funds are not excessive themselves.
 See id. at 23-24.
         While it appears undisputed that the Fund performed well (though to what degree might
 be in question), it is inappropriate for the Court to determine at summary judgment whether the
 Broadridge data or the subadvisory fees Defendant charged to Sub-Advised Funds is a more apt
 indicator of the advisory fee's excessiveness.        Other courts have held the same.   See: e.g.,
 BlackRock, 2018 WL 3075916, at *27 (holding that "[w]hile [Broadridge] provides a competing
 set of data [to the subadvisory fee received] regarding the appropriate bargaining range, the
 Court cannot weigh those two comparisons at the summary judgment stage."). In light of the
 Court's MSJ I Ruling and its confirmation of that ruling above, the Court would conclude that
 Defendant's reliance on the Broadridge data is not enough to warrant summary judgment
 because the comparison of the advisory fees and subadvisory fees offers a probative alternative


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 fee comparison that could win the day. 12 Assuming that Plaintiff's definition of Sub-Advised
 Funds is correct, 13 the Fund would have paid between lllllbasis points and •                          basis points in
 advisory fees to MetWest if the Fund instead paid the rate that_MetWest charged Sub-Advised
 Funds in subadvisory fees. See id. 95. Using those metrics, the Fund would have paid between
 -..nd                                      ess in advisory fees between 2014 and 2018. See PUF                 ,r,r 96-
 97.
            Both parties ask that the Court broadly reject the other's data, but the Court would refrain
 from doing so at summary judgment. Even so, the Court would echo the warning in BlackRock,
 and caution Plaintiff that its battle at trial would be arduous:
            [A]lthough I have found that a factual dispute exists regarding the comparability
            of the services that BRA renders to the Funds and BRIM renders to the
            Subadvised Funds, I note that, following Jones, those courts that have rendered a
            comparison of advisory services to subadvisory services beyond the pleadings
            stage have rejected the notion that these services are comparable. See, e.g.,
            Kasilag, 2017 WL 773880 at *7, 22 n. 40 (observing the different entrepreneurial,
            reputational, legal, and regulatory risks borne by advisers); Sivolella, 2016 WL
            4487857 at *46 (finding that the duties of an investment adviser were "far more
            extensive" than those delegated to subadvisors); Goodman, 301 F.Supp.3d at 770-
            74 (finding a comparison of advisory fees and subadvisory fees was inapt, based
            on the different responsibilities, risks, and scale and scope of services involved
            between advisory and subadvisory services); see also Hoffman v. UBS-AG, 591
            F.Supp.2d 522, 540 (S.D.N.Y. 2008) ("[!]investment advisers and sub-advisers
            perform distinct services."). While I agree with Plaintiffs that the scope and extent
            of the services rendered by BRA and BRIM is a fact-specific inquiry, and
            Plaintiffs will have the opportunity to show that BRA's advisory services and
            BRIM's subadvisory services are compar~ble in this case, the legal authority
            discussed above indicates that Plaintiffs may face an uphill battle in doing so.

 See BlackRock, 2018 WL 3075916, at *26. In addition, the Court also reiterates, as the court did
 in BlackRock, that at trial it would not ignore the Broadridge data on which the Board relied,
 which may very well outweigh the subadvisory fee comparison at trial.
            5. Profitability
            Defendant argues that Plaintiffs reliance on hypothetical alternative profitability


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    The Court recognizes, however, that this conclusion alone would not "doom" the parties to trial. Jones, 559 U.S.
 at 350 n.8 (noting that "[o]nly where plaintiffs have shown a large disparity in fees that cannot be explained by the
 different services in addition to other evidence that the fee is outside the arm's-length range will trial be
 appropriate."). Thus, the Court analyzes the other relevant Gartenberg factors in this tentative ruling.
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      The Court notes that Plaintiffs definition and categorization of Sub-Advised Funds is disputed.

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 calculations does not establish that the Fund's advisory fee was beyond arm's-length range. See
 MSJ II at 23-25.     More specifically, Defendant argues that whether the Fund would have
 theoretically remained profitable if MetWest charged lower fees is "utterly beside the point," and
 Defendant· is not entitled to some finite amount of profit above its costs. See id at 24. Plaintiff
 rebuts, arguing that it does not proffer that Defendant receives no profits, that it operate on a
 "cost-plus" basis, or that Defendant must charge the lowest fee. See MSJ II Opp'n at 17-18.
 Instead, Plaintiff argues that MetWest's profits increased from -               to                 in
 2016 and that questions of fact remain as to profitability, which relate to Section 36(b) claims.
 See id at 18-19.
        The Court recognizes that "Section 36(b) does not prohibit an investment adviser from
 making a profit, nor does it regulate the level of profit." In re Am. Mut. Funds Fee Litig., 2009
 WL 5215755, at *50; Gartenberg, 573 F. Supp. at 1316 ("[The adviser] and its affiliates are·
 entitled to recoup their costs and to make a fair profit without having to fear that they have
 violated Section 36(b)."). "Nevertheless, a fund's profitability to its adviser is at least one
 measure to take into account when evaluating the excessiveness of the Fund's Advisory Fee."
 See Chill v. Calamos Advisors LLC, No. 15 CIV. 1014 (ER), 2018 WL 4778912, at *21
 (S.D.N.Y. Oct. 3, 2018)..




                                                                          See id.   1 194.   The Court
 would conclude that there are indeed questions of fact remaining as to profitability, including as
 to the weight afforded to Ayres' opinion on this area, and the parties may present such evidence
 at trial. See Cahill, 2018 WL 4778912, at *21 (holding that "Plaintiffs will have their day in
 court to submit evidence on the 'fact-inte~ive nature of the profitability inquiry."').
        6. Economies ofScale
        Defendant argues that Plaintiff merely provides bald assertions that the Fund became less
 expensive to manage as its ADM increased. See·MSJ II at 25-26. Defendant asserts that without
 quantifying MetWest's relevant costs and proving that the per unit cost of performing Fund
 transactions decreased as the number of transactions increased, Plaintiff cannot demonstrate that
 economies of scale moved the challenged fee outside of the fair bargaining range. See id. Even
 if Plaintiff could prove that the Fund has experienced economies of scale, Defendant argues that


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 it shared those benefits with sharehoiders by competitively pricing the Fund and by incorporating
 additional investments into its operations and infrastructure to benefit the Fund.        See id.
 Defendant does not consider a reduction in the advisory fee as the only avenue to sharing the
 benefits of economies of scales. See id
         In response, Plaintiff asserts that the Fund's AUM has jumped approximately 111111 from
 2011 to 2016, growing f r o m - t o - . See MSJ II Opp'n at 19-20. Plaintiff
 points out that the advisory fee has not decreased, despite this change. See id. According to
 Plaintiff,




                       See id (citing Ayres Report ,i,i 99-103).
         Courts define economies of scale as "decline[s] in a product's per-unit production cost
 resulting from increased output, [often] due to increased production facilities; savings resulting
 from the greater efficiency of large-scale processes." Hoffman v. UBS-AG, 591 F. Supp. 2d 522,
 540 (S.D.N.Y. 2008) (internal citation and quotation marks omitted); Kasilag v. Hartford Inv.
 Fin. Servs., LLC, No. CV 11-1083 RMB-(KMWx), 2016 WL 1394347, at *18 n.8 (D.N.J. Apr.
 7, 2016), aff'd, No. 17-1653, 2018 WL 3913102 (3d Cir. Aug. 15, 2018). In the framework of
 Section 36(b), "[t]he concept of 'economies of scale' assumes that as a mutual fund increases in
 size, its operational costs decrease propo~ionally. If a fund realizes economies of scale, its
 willingness to let the shareholders participate in the resulting benefits becomes a factor in
 evaluating the reasonableness of the adviser-manager's fees." Kalish v. Franklin ~dvisers, Inc.,
 742 F.Supp. 1222, 1237 (S.D.N.Y. 1990), aff'd, 928 F.2d 590 (2d Cir. 1991). The plaintiff bears
 a two-pronged burden in Section 36(b) cases to demonstrate economies of scale. First, the
 plaintiff must establish that economies of scale were realized. Id. at 1238. Second, if the
 plaintiff satisfies the aforementioned inquiry, he or she inust demonstrate that "the savings
 realized from economies of scale were not sufficiently shared· with the Fund and its
 shareholders." Pirundini v. J.P. Morgan Inv. Mgmt. Inc., 309 F. Supp. 3d 156, 166 (S.D.N.Y.
 2018) (appeal docketed).
         The Court would conclude that there exists a triable issue of fact with respect to
 economies of scale. BlackRock, 2018 WL 3075916, at *34-*35 (denying summary judgment as
 to the economies of scale factor, holding that "[w]hile Plaintiffs' arguments may not ultimately


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 be enough to carry their burden at trial, the foregoing factual disputes are sufficient to withstand .
 summary judgment."); Kasilag, 2016 WL 1394347, at *18 (concluding that as to the economies
 of scale factor, the court could not "ignore expert testimony highlighting a large factual displlte
 concerning the economies of scale that were passed on to the Funds.").




 Reply at 14-15. Instead, the Court finds such argwnents more suitable to weigh and consider at
 trial.
                   7. Nature and Quality ofServices; Fall-Out Benefits
          Pursuant to the Gartenberg factors, courts also consider fall-out benefits 15 and the nature
 and quality of services provided. Kenny, 2015 WL 10635505, at *3 (citing Jones, 599 U.S. at
 344 & n.5). It appears from briefing that Plaintiff does not meaningfully argue that these factors
 lean in his favor, despite the fact Defendant explicitly moves for summary judgment as to each
 of them. See MSJ II at 29-30; see generally MSJ II Opp'n. The Court would therefore grant
 summary judgment as to these two factors in Defendant' s favor.
          C. Conclusion
          In weighing the Gartenberg factors and other evidence presented, the Court would find
 that for the foregoing reasons it would deny summary judgment except for as to the
 aforementioned two factors. Precluding summary judgment, the Court would find triable issues
 of fact as to comparative fees, the deference afforded to the Board's 15(c) decision, economies of
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   "Breakpoints are staggered reductions in marginal fee rates that accompany marginal increases in assets under
 management .. . used to reflect the reduced marginal cost of providing investment advisory services to a growing
 pool of assets, allowing shareholders to reap some economy-of-scale benefits via reduced fees ." Chill, 2018 WL
 4778912, at *4 (internal quotation marks omitted).
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    Fall-out benefits "are those which accrue to the mutual funds adviser as a result of its work on behalf of the
 mutual fund." See Kasilag, 2017 WL 773880, at *23 (citation omitted).

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 scale, and profitability.
           D. Plaintiff's Request for Evidentiary Ruling on Specified Objections 16
                    1. Overruled;
                    2. Overruled;
                    3. Sustained;
                    4. Overruled;
                    5. Overruled;
                    6. Moot in light of Defendant providing the earlier report of expert Coates (see
                       Roy Rebuttal Deel. Ex. 4, Docket No. 308-4);
                    7. Overruled;
                    8. Overruled;
                    9. Overruled;
                    10. Overruled; and
                    11. Overruled.

            E. Defendant's Request for Evidentiary Ruling on Specific Objections 17
              1. The Court did not rely on this expert testimony in ruling on the MSJ II;
              2. The Court did not rely on this expert testimony in ruling on the MSJ II;
              3. The Court did not rely on this expert testimony in ruling on the MSJ II;
              4. The Court did not rely on this expert testimony in ruling on the MSJ II;
              5. Overruled;
              6. Overruled;
              7. Overruled;
              8. Sustained; and
              9. Sustained.
 IV. Conclusion
            For the foregoing reasons, the Court would DENY the Expert MILs and DENY IN
 PART the MSJ II. The Court would deny the MSJ II, except as to the aforementioned two
 Gartenberg factors: fall-out benefits and the nature and quality of services provided. If the
 parties would like this tentative ruling redacted in any manner prior to its appearance on the
 public docket, the parties should make such a request at the October 25, 2018 hearing and the
 parties should jointly submit to the Court a suitable redacted version. 18


 16 See Plaintiff's Request for Evidentiary Ruling on Specified Objections, Docket No. 269. Defendant filed a

 response to these objections. See Defendant's Response to Request for Evidentiary Ruling on Specified Objections,
 Docket No. 300.

 17See [Unredacted] Defendant's Request for Evidentiary Ruling on Specified Objections (Phase II), Docket No.
 298-4. Plaintiff filed a response to these objections. See Plaintiff's Response to Defendant's Request for
 Evidentiary Ruling on Specified Objections, Docket No. 319.

 18   As mentioned in the Court's recent minute order, Docket No. 316, the parties should discuss the continuance of
 relevant dates at the October 25, 2018 hearing.
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